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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :      CRIMINAL NO. 1:20-cr-00278-TNM
               v.                            :
                                             :
KEITH BERMAN                                 :
                                             :
                      Defendant.             :


                    UNOPPOSED MOTION FOR PROTECTIVE ORDER

       The United States of America, by and through its undersigned counsel, hereby respectfully

moves the Court for the entry of a protective order governing the production of discovery by the

parties in the above-captioned case. The United States and counsel for defendant have reached

an agreement as to the proposed protective order. Therefore, the United States is authorized to

represent to the Court that the defendant does not oppose this motion or the entry of the attached

protective order.

                                             Respectfully submitted,

                                             DANIEL S. KAHN
                                             Acting Chief, Fraud Section
                                             Criminal Division


                                     By:     /s/ Christopher Fenton
                                             Christopher Fenton (NY #4215992)
                                             Trial Attorney, Fraud Section
                                             Criminal Division
                                             United States Department of Justice
                                             1400 New York Ave. NW
                                             Washington, DC 20005
                                             (202) 320-0539
                                             christopher.fenton@usdoj.gov
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                              CERTIFICATE OF SERVICE

       I certify that on January 21, 2021, I filed a true and correct copy of the foregoing
with the Clerk of Court via ECF, and that I separately provided a copy of the filing via
email to counsel for the defendant in this action.

                                                  /s/ Christopher Fenton
                                           Trial Attorney, U.S. Department of Justice
